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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  JIYOUNG YOON, Individually and as the
  Administratrix of the Estate of Jyung Woo
  Hahn, Deceased,
                                                             Case No. 7:23-cv-07354 (CS)
                       Plaintiff,
                                                             JURY TRIAL DEMANDED
                  v.

  TESLA MOTORS, INC.

                       Defendant.




                                    STIPULATION OF DISMISSAL

        Plaintiff, JIYOUNG YOON, Individually and as the Administratrix of the Estate of Jyung

Woo Hahn, Deceased, and Defendant, TESLA MOTORS, INC., through their respective

undersigned counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby

stipulate to the dismissal of this action, with the parties to bear their own attorneys’ fees, costs, and

expenses.

Dated: November 25, 2024

Respectfully submitted,

/s/ Steven E. Nauman
STEVEN E. NAUMAN, ESQ.
                                                    Peter J. Fazio_______
Florida Bar No.: 106126 (admitted pro hac           Peter J. Fazio, Esq.
vice)                                               Aaronson Rappaport Feinstein
Morgan & Morgan, P.A.                               & Deutsch, LLP
20 North Orange Avenue, Suite 1600                  600 Third Avenue
Orlando, FL 32801                                   New York, New York 10016
Telephone: (407) 244-3962                           Telephone: (212) 593-5458
Email: snauman@forthepeople.com                     Fax: (212) 593-6970
Secondary Email:                                    E-Mail: pjfazio@arfdlaw.com
loranirivera@forthepeople.com                       Counsel for Tesla, Inc.
Counsel for Plaintiff


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                               CERTIFICATE OF SERVICE

       I hereby certify that, on November 25, 2024, the foregoing document was filed with the

Court’s CM/ECF system, which will cause a notice of electronic filing to be served on all counsel

of record.

                                        /s/ Steven E. Nauman
                                        STEVEN E. NAUMAN, ESQ.
                                        Florida Bar No.: 106126 (admitted pro hac vice)
                                        Morgan & Morgan, P.A.
                                        20 North Orange Avenue, Suite 1600
                                        Orlando, FL 32801
                                        Telephone: (407) 244-3962
                                        Email: snauman@forthepeople.com
                                        Secondary Email: loranirivera@forthepeople.com
                                        Counsel for Plaintiff




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